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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
v.                                               )   CIVIL ACTION NO.
                                                 )
REAL PROPERTY LOCATED                            )
AT 305 COWAN TERRACE,                            )
BROWNSVILLE, CAMERON COUNTY,                     )
TEXAS,                                           )
                                                 )
                       Defendant in rem          )

                         COMPLAINT FOR FORFEITURE IN REM

        The United States of America files this action for forfeiture in rem, pursuant to Rule G,

Supplemental Rules of Federal Rules of Civil Procedure, and alleges upon information and belief:

                                             I.
                                    NATURE OF THE ACTION

     1. This action is brought by the United States of America seeking forfeiture to the United

        States, pursuant to 18 U.S.C. § 981(a)(1)(A) and 21 U.S.C. § 881(a)(6) and (7), of the real

        property described below as:

            a. Real Property Located and Situated at 305 Cowan Terrance, Brownsville, Cameron
               County, Texas, (hereinafter the “Defendant Property Cowan”) with all buildings,
               appurtenances, and improvements thereon, and any and all surface and sub-surface
               rights, title, and interests, more fully described as follows:

               A 0.980 Acre Tract designated as Private Playground, Block Three (3),
               Resaca Gardens Subdivision, Section III, Cameron County, to the Map or
               Plat Thereof Recorded in Volume 22, Page 36, of the Map Records of
               Cameron County, Texas.
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                                        II.
                             JURISDICTION AND VENUE

2. Under Title 28 U.S.C. § 1345, the Court has jurisdiction over an action commenced by the

   United States, and under Title 28 U.S.C. § 1355(a), jurisdiction over an action for

   forfeiture. This Court has in rem jurisdiction over Defendant Property Cowan under Title

   28 U.S.C. §§ 1355(b) and 1395. Venue is proper in this district pursuant to Title 28 U.S.C.

   § 1355(b)(1), because the acts or omissions giving rise to the forfeiture occurred in this

   District, and pursuant to Title 28 U.S.C. § 1355(b)(1)(B) and 1395(b), because the

   Respondent Real Property is located in this District.

                                   III.
                      STATUTORY BASIS FOR FORFEITURE

3. This is a civil forfeiture action in rem brought against Defendant Property Cowan, which

   is subject to forfeiture under:

       a. 21 U.S.C. 881(a)(6), which provides for the forfeiture of “[a]ll moneys, negotiable

           instruments, securities, or other things of value furnished or intended to be

           furnished by any person in exchange for a controlled substance or listed chemical

           in violation of [the Controlled Substances Act, 21 U.S.C. § 801, et seq.], all

           proceeds traceable to such an exchange, and all moneys, negotiable instruments,

           and securities used or intended to be used to facilitate any violation of [the

           Controlled Substances Act, 21 U.S.C. § 801, et seq.].”

       b. 18 U.S.C. § 981(a)(1)(A), which provides for the forfeiture of property, real or

           personal, involved in a transaction or attempted transaction in violation of 18

           U.S.C. §§ 1956, 1957, or 1960, or any property traceable to such property. Under


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          18 U.S.C. § 1956(a)(1)(B)(i), it is unlawful for a person to conduct or attempt to

          conduct a financial transaction with proceeds of a specified unlawful activity

          knowing that the transaction is designed in whole or in part to conceal or disguise

          the nature, the location, the source, the ownership, or the control of the proceeds of

          specified unlawful activity or to avoid a transaction reporting requirement under

          federal or state law. It is a violation of 18 U.S.C. § 1957 for a person to knowingly

          engage or attempt to engage in a monetary transaction in criminally derived

          property of a value greater than $10,000 and that is derived from specified unlawful

          activity. The felonious sale of controlled substances constitutes a “specified

          unlawful activity” under 18 U.S.C. § 1956(c)(7)(A), which incorporates 18 U.S.C.

          § 1961(1)(D).

                                   IV.
                     FACTS IN SUPPORT OF FORFEITURE

4. Juan De Dios Gomez Gonzalez (hereinafter Gomez-Gonzalez) conspired to launder

   proceeds from illegal narcotics distribution and to distribute controlled substances in the

   Southern District of Texas between 2009 and 2023. Gomez-Gonzalez was the head of the

   Gomez-Gonzalez Drug Trafficking Organization (“DTO”) and was responsible for

   importing large quantities of cocaine from Mexico into the United States and transporting

   illegal drug proceeds from the United States into Mexico. Gomez-Gonzalez was directly

   responsible for managing and overseeing the DTO’s activities up until his death in

   September 2023.




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5. As the DTO’s top leader, Gomez-Gonzalez oversaw the collection and preparation of

   thousands of kilograms of cocaine in Mexico and arranged to have the drugs smuggled into

   the United States by the DTO’s couriers, who smuggled the drugs using either tractor

   trailers or passenger vehicles. After coordinating the importation of cocaine into the United

   States, Gomez-Gonzalez directed DTO members to coordinate the logistics of storing the

   cocaine in the DTO’s stash houses in Brownsville, Texas, and transporting the drugs to the

   DTO’s distributors and customers throughout Texas and elsewhere in the United States,

   including California, Nevada, North Carolina, Indiana, and Florida.

6. Gomez-Gonzalez operated multiple businesses to further the DTO’s drug-distribution

   activities and launder the drug proceeds. Gomez-Gonzalez owned the El Paisano Hotel in

   Matamoros, Tamaulipas, Mexico, which Gomez-Gonzalez used as a meeting location to

   plan the DTO’s activities, as a receipt point for bulk cash obtained from the sale of drugs,

   and to launder the DTO’s drug proceeds. Gomez-Gonzalez funded the purchase and

   operation of a car lot located on 3rd Street in Matamoros, Tamaulipas, Mexico, which was

   used as a location to store and transfer drugs being sent into the United States and as a

   storage location and receipt point for bulk cash obtained from the sale of drugs.

   Gomez-Gonzalez also operated a construction company, Palmas Construction, which he

   funded with drug proceeds and used to launder drug proceeds.

7. As a result of his participation in the DTO’s activities, Gomez-Gonzalez was indicted in

   the Southern District of Texas, Brownsville Division, for narcotics violations under

   21 U.S.C. §§ 841 and 846, as well as money-laundering violations under 18 U.S.C. § 1956.




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   Gomez-Gonzalez was killed in Mexico during a shootout before he could be arrested and

   extradited to the United States.

8. The Defendant Property Cowan was purchased by Gomez-Gonzalez and his wife, Maria

   Guadalupe Ramos Castro (“Ramos-Castro”) on February 1, 2013, for $330,000. Defendant

   Property Cowan is titled in the names of Gomez-Gonzalez and Ramos-Castro.

9. After their purchase of Defendant Property Cowan, Gomez-Gonzalez and Ramos-Castro

   made substantial improvements to Defendant Property Cowan. Gomez-Gonzalez used

   Palmas Construction, an entity funded by drug proceeds and used to launder drug proceeds,

   to perform many of those improvements. The improvements made to Defendant Property

   Cowan included but were not limited to: construction and installation of a pool,

   construction and installation of a pool house, and aesthetic renovation of the residence.

10. Gomez-Gonzalez originally entered the United States as a B1/B2 visa holder with no legal

   status to reside and work in the United States until he adjusted status in 2012 to become an

   E2 treaty investor. Additionally, a search for employment records for Gomez-Gonzalez

   and Ramos-Castro did not return any records or show any reported income for either

   individual. In 2015, Gomez-Gonzalez fled the United States to Matamoros, Mexico after

   he became aware that he was the subject of a drug investigation. Gomez-Gonzalez later

   fled Matamoros, Mexico, to Guadalajara, Mexico, due to problems with the Gulf Cartel

   relating to his drug trafficking.

11. During the drug and money laundering conspiracy, stretching from purchase of the

   Defendant Property Cowan until the death of Gomez-Gonzalez, Defendant Property

   Cowan was purchased, maintained, and improved with proceeds of illegal drug distribution


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       and was involved in money laundering. Specifically, the purchase of, maintenance of, and

       improvements made to, Defendant Property Cowan were funded, either in part or in whole,

       by drug proceeds obtained from Gomez-Gonzalez’s involvement in distribution of drugs

       through the DTO and money involved in money laundering through the above-described

       businesses and schemes.

                                             IV.
                                         CONCLUSION

   12. The Defendant Property Cowan is subject to forfeiture under 21 U.S.C. § 881(a)(6) as

       property traceable to proceeds of drug trafficking and under 18 U.S.C. § 981(a)(1)(A) as

       property involved in money laundering in violation of 18 U.S.C. § 1956 and/or § 1957.

                       NOTICE TO ANY POTENTIAL CLAIMANTS

       YOU ARE HEREBY NOTIFIED that if you assert an interest in the Defendant Property

Cowan, which is subject to forfeiture, and wish to contest the forfeiture, you must file a verified

claim fulfilling the requirements set forth in Rule G of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions. The verified claim must be filed no later than thirty-

five (35) days from the date this Complaint has been sent in accordance with Rule G(4)(b).

       An answer or motion under Rule 12 of the Federal Rules of Civil Procedure must be filed

no later than twenty-one (21) days after filing the claim. The claim and answer must be filed with

the United States District Clerk for the Southern District of Texas at the United States Courthouse,

600 E. Harrison St., Brownsville, TX 78520, and a copy must be served upon the undersigned

Assistant United States Attorney at the United States Attorney’s Office, 800 N. Shoreline Blvd.,

Suite 500, Corpus Christi, TX 78401.



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                                           PRAYER

       Wherefore, the United States prays that judgment of forfeiture be entered against

Defendant Property Cowan in favor of the United States of America under 21 U.S.C. § 881(a)(6)

and 18 U.S.C. § 981(a)(1)(A), in addition to such costs and other relief t which the United States

may be entitled.

                                                    Respectfully submitted,

                                                    NICHOLAS J. GANJEI
                                                    UNITED STATES ATTORNEY

                                              By:    s/ Tyler Foster
                                                    TYLER FOSTER
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                                        VERIFICATION

       I, Jason Broughton, a Special Agent with Homeland Security Investigations, assigned to

the San Antonio District Office, hereby verify under penalty of perjury, pursuant to 28 U.S.C.

§ 1746, that the facts set forth in Paragraphs 4 through 11 of the Factual Basis in the forgoing

Complaint for Forfeiture in Rem are true and correct to the best of my knowledge and belief.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this __5th__ day of ____March______ 2025.



                                                             _____________________________
                                                             Jason Michael Broughton
                                                             Special Agent
                                                             Homeland Security Investigations
